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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

HOLLOW SPIRITS, LLC,

       Plaintiff,                                    Civil No. 1:18-cv-00257-KK-JHR

v.

CORSON DISTILLING SYSTEMS, INC.,

       Defendant.

 NOTICE OF STIPULATION EXTENDING PLAINTIFF’S DEADLINE TO RESPOND
 TO DEFENDANT’S MOTION TO DISMISS, OR IN THE ALTERNATE, STAY AND
                       COMPEL ARBITRATION

       WHEREAS, Defendant Corson Distilling Systems, Inc., filed its Motion to Dismiss, or in

the Alternate, Stay and Compel Arbitration (“Motion”) on April 2, 2018;

       WHEREAS, counsel for Plaintiff Hollow Spirits, LLC, and counsel for Defendant Corson

Distilling Systems, Inc., have conferred and stipulated to allowing Plaintiff until April 30, 2018,

to respond to Defendant’s Motion;

       WHEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between counsel

for Plaintiff Hollow Spirits, LLC and counsel for Defendant Corson Distilling Systems, Inc., that

Plaintiff be granted until April 30, 2018, to respond to Defendant’s Motion.

                                       Respectfully submitted,

                                       FREEDMAN BOYD HOLLANDER
                                       GOLDBERG URIAS & WARD P.A.

                                        H. Jesse Jacobus, III
                                        H. Jesse Jacobus, III
                                        Frank T. Davis
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I HEREBY CERTIFY that on the 23rd of April
2018, I electronically filed the foregoing with
the Clerk of Court using CM/ECF system causing
service on all parties.

/s/ H. Jesse Jacobus
H. Jesse Jacobus
